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                                                                        2021

                                                                         VPC
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 1
                           UNITED STATES DISTRICT COURT
 2
                         CENTRAL DISTRICT OF CALIFORNIA
 3

 4
     KC & HC, INC, a California corporation, Case No.: 2:19-cv-07361-SB-PJW
 5
                                             ORDER ON STIPULATION OF
 6
     Plaintiff,                              DISMISSAL WITHOUT
                                             PREJUDICE
 7   v.
 8
     ASCENA RETAIL GROUP, INC.,
 9   individually and d/b/a “Dress Barn,” a
10
     Delaware corporation; et al.,

11   Defendants.
12

13

14

15
                                               ORDER
16

17          FOR GOOD CAUSE APPEARING, IT IS HEREBY ORDERED THAT this
18   action is dismissed without prejudice in its entirety with each party bearing its own
     costs and attorneys’ fees as incurred in this action.
19

20         IT IS SO ORDERED.
21

22
     Dated: October 8, 2021                 By:       _______________________
23                                                    HON. STANLEY BLUMENFELD, JR.
24                                                    PRESIDING
25
                                                      U.S. DISTRICT JUDGE

26

27

28                                                1

                     ORDER ON STIPULATION OF DISMISSAL WITHOUT PREJUDICE
